             Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 1 of 9



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

AMERICAN FEDERATION OF                      )
GOVERNMENT EMPLOYEES, AFL-CIO,              )
80 F St. NW, Washington, D.C. 20001,        )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )        Civil Action No. ___________
                                            )
FEDERAL LABOR RELATIONS                     )
AUTHORITY,                                  )
1400 K Street NW, Washington, D.C. 20424, )
                                            )
        and                                 )
                                            )
COLLEEN DUFFY KIKO,                         )
In her official capacity as Chairman of the )
Federal Labor Relations Authority,          )
1400 K Street NW, Washington, D.C. 20424, )
                                            )
        Defendants.                         )
_______________________________________)

            COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                                        INTRODUCTION

       The American Federation of Government Employees, AFL-CIO (“AFGE”) challenges

two decisions by the Federal Labor Relations Authority (“the Authority”) on the basis that the

decisions are arbitrary, capricious, an abuse of discretion, and not in accordance with law, and

are consequently in violation of the Administrative Procedure Act, 5 U.S.C. § 701 et seq.

(“APA”). Specifically, AFGE challenges the Authority’s decision in Department of Veterans

Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A. 465 (2018), and the Authority’s denial of

reconsideration in Department of Veterans Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A.

960 (2018). Copies of the Authority’s decisions accompany this complaint.




                                                 1
             Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 2 of 9



       These decisions arose from a unit clarification petition which AFGE filed with the

Authority pursuant to 5 C.F.R. § 2422.1(b)(1). In that case, AFGE sought to withdraw its petition

prior to the issuance of a final decision or order by the Authority. AFGE first filed a request to

withdraw the unit clarification petition. When the Authority failed to respond, AFGE then filed a

notice alerting the Authority that the petition was withdrawn. AFGE also directed the Authority

to its regulation at 5 C.F.R. § 2429.10 which prohibits the Authority from issuing advisory

opinions. Despite AFGE’s request to withdraw and notice of withdrawal, and the absence of any

response by the agency involved, the Authority issued the challenged decisions. AFGE therefore

seeks review of the Authority’s decisions on this collateral issue, and vacatur of the Authority’s

issuance of what amount to advisory opinions in violation of its own regulations.

I.     JURISDICTION

       1. The court has jurisdiction pursuant to 5 U.S.C. § 702 and 28 U.S.C. § 1331.

       2. AFGE seeks a declaratory judgment pursuant to 28 U.S.C. § 2201.

II.    VENUE

       3. Pursuant to 28 U.S.C. § 1391(e)(1), the District of Columbia is a proper venue for this

           action because AFGE has its headquarters here and because Defendants’ principal

           offices are also headquartered here.

III.   PARTIES

       4. AFGE is a national labor organization and unincorporated association having its

           headquarters at: 80 F St. NW, Washington, D.C. 20001. AFGE represents

           approximately 650,000 federal civilian employees in agencies across the federal

           government, including approximately 250,000 federal civilian employees at the

           Department of Veterans Affairs (“VA”).



                                                  2
           Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 3 of 9



      5. AFGE and its affiliated council and locals are the certified exclusive representative

         under 5 U.S.C. § 7111, of certain employees at the VA.

      6. Defendant Federal Labor Relations Authority is a federal agency whose headquarters

         are located at 1400 K Street NW, Washington, D.C. 20424.

      7. Defendant Colleen Duffy Kiko is the Chairman of the Authority. She is sued solely in

         her official capacity.

IV.   FACTS

      8. The Authority is an “agency” as that term is defined in 5 U.S.C. § 551(1).

      9. The Authority is subject to 5 U.S.C. § 553 (“Section 553”).

      10. The APA defines “rule making” as “the agency process for formulating, amending, or

         repealing a rule.” 5 U.S.C. § 551(5).

      11. “Rule” is further defined by the APA as “the whole or a part of an agency statement

         of general or particular applicability and future effect designed to implement,

         interpret, or prescribe law or policy[.]” 5 U.S.C. § 551(4).

      12. Subject to exceptions not relevant here, Section 553(b) requires agencies to publish

         general notice of rule making in the Federal Register describing the time, place, and

         nature of public rule making proceedings, referencing the legal authority under which

         the rule is proposed, and describing the terms or substance of the proposed rule.

      13. Section 553(c) also requires agencies to give interested persons an opportunity to

         participate in the rule making via public comment.

      14. Subject to exceptions not relevant here, Section 553(d) requires the notice and

         comment period to last at least 30 days before the rule becomes effective.




                                                 3
     Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 4 of 9



15. AFGE is certified as the exclusive representative of a nationwide bargaining unit of

   certain professional and non-professional employees working for the VA.

16. AFGE is the certified exclusive representative of all non-excluded professional and

   non-professional employees, including employees of the Canteen Service, at the

   Kansas City VA Medical Center (“Kansas City VAMC”).

17. On July 20, 2016, AFGE filed a petition pursuant to 5 C.F.R. § 2422.1(b)(1) with the

   Authority’s Chicago Regional Office seeking to include seven positions at the Kansas

   City VAMC in AFGE’s nationwide consolidated bargaining unit of non-professional

   employees.

18. The Regional Director, Sandra Lebold, of the Authority’s Chicago Regional Office

   investigated AFGE’s petition.

19. During the course of the investigation, AFGE and the VA reached agreement

   regarding a number of the positions at issue in AFGE’s original petition.

20. AFGE and the VA were unable to reach agreement with respect to only one position

   at the facility.

21. After its investigation, the Authority’s Chicago Regional Office, through its Regional

   Director Sandra LeBold, issued a Decision and Order Clarifying Unit (“Decision and

   Order”) on July 14, 2017.

22. The Decision and Order clarified the bargaining unit to include the position at issue.

23. On August 23, 2017, the VA filed an application for review with the Authority

   pursuant to 5 C.F.R. § 2422.31.

24. As a result of VA’s application for review, the Decision Order did not become final. 5

   C.F.R. § 2422.31(e)(2).



                                         4
     Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 5 of 9



25. AFGE filed an opposition to the VA’s application for review on September 7, 2017.

26. On October 23, 2017, the Authority issued an order granting the VA’s application for

   review but deferred action on the merits until a later date.

27. On November 20, 2017, AFGE filed a notice of request to withdraw its July 20, 2016

   unit clarification petition with the Authority.

28. After AFGE received no response from the Authority, on January 11, 2018, AFGE

   filed a second notice withdrawing its unit clarification petition.

29. AFGE’s second notice clarified that because no final decision had been reached on

   the merits of the case, and AFGE was withdrawing its petition, there was no longer a

   case or controversy that would require a decision by the Authority.

30. Additionally, AFGE’s second notice cited to the Authority’s regulation, 5 C.F.R. §

   2429.10, prohibiting the issuance of advisory opinions by the Authority.

31. The Authority has no regulation governing the withdrawal of a union’s petition for

   clarification of employees’ bargaining unit status.

32. The VA did not object to AFGE’s request to withdraw or AFGE’s notice of

   withdrawal.

33. On April 13, 2018, almost five months after AFGE’s first request to withdraw its

   petition, the Authority, by a 2-1 vote, issued a decision on the merits of AFGE’s

   withdrawn unit clarification petition. Dep’t of Veterans Affairs, Kansas City VAMC

   and AFGE, 70 F.L.R.A. 465 (2018).

34. Prior to issuing its decision, the Authority provided no notice to AFGE that its

   request to withdraw or its notice of withdrawal was deficient or otherwise

   unperfected.



                                         5
     Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 6 of 9



35. In the decision, the Authority denied what it characterized as AFGE’s request to

   withdraw and proceeded to issue a decision on the merits.

36. On April 30, 2018, AFGE filed a timely motion for reconsideration of the April 13,

   2018 Opinion, arguing, inter alia, that the Authority’s decision was an improper

   advisory opinion.

37. In the motion for reconsideration, AFGE also explained that the dispute became moot

   when AFGE withdrew the unit clarification petition and indicated that AFGE no

   longer sought to represent the position identified in the petition.

38. The Authority, by a 2-1 vote over Member Ernest DuBester’s dissent, denied AFGE’s

   motion for reconsideration on November 21, 2018. Dep’t of Veterans Affairs, Kansas

   City VAMC and AFGE, 70 F.L.R.A. 960 (2018).



                                         COUNT I

                    Violation of the Administrative Procedure Act
                                  5 U.S.C. § 706(2)(A)

39. AFGE realleges and incorporates by reference the allegations contained in paragraphs

   1 through 38.

40. Authority regulation 5 C.F.R. § 2429.10 prohibits the Authority from issuing advisory

   opinions.

41. By refusing to honor AFGE’s withdrawal of its petition prior to a final decision on

   the merits, the Authority issued advisory opinions in violation of 5 C.F.R. § 2429.10.

42. The Authority’s decision in Department of Veteran Affairs, Kansas City VAMC and

   AFGE, 70 F.L.R.A. 465 (2018), and the Authority’s denial of reconsideration in

   Department of Veteran Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A. 960

                                         6
     Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 7 of 9



   (2018), are therefore arbitrary, capricious, an abuse of discretion, and not in

   accordance with law in violation of 5 U.S.C. § 706(2)(A).


                                        COUNT II

                    Violation of the Administrative Procedure Act
                                  5 U.S.C. § 706(2)(A)

43. AFGE realleges and incorporates by reference the allegations contained in paragraphs

   1 through 42.

44. The Authority has no regulation governing the withdrawal of a union’s petition for

   clarification of employees’ bargaining unit status.

45. AFGE validly withdrew its petition prior to the Authority’s issuance of a final

   decision on the merits.

46. By refusing to honor AFGE’s withdrawal of its petition, the Authority’s decision in

   Department of Veteran Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A. 465

   (2018), and the Authority’s denial of reconsideration in Department of Veteran

   Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A. 960 (2018), are arbitrary,

   capricious, and an abuse of discretion in violation of 5 U.S.C. § 706(2)(A).


                                       COUNT III

                    Violation of the Administrative Procedure Act
                                     5 U.S.C. § 553

47. AFGE realleges and incorporates by reference the allegations contained in paragraphs

   1 through 46.

48. Authority regulation 5 C.F.R. § 2429.10 is a final rule promulgated via notice and

   comment rule making.



                                         7
     Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 8 of 9



49. Authority regulation 5 C.F.R. § 2429.10 prohibits the Authority from issuing advisory

   opinions.

50. By refusing to honor AFGE’s withdrawal of its petition prior to a decision on the

   merits, the Authority issued advisory opinions in violation of 5 C.F.R. § 2429.10.

51. By refusing to honor AFGE’s withdrawal of its petition, the Authority altered,

   amended, or repealed 5 C.F.R. § 2429.10 without engaging in notice and comment

   rule making.

52. The Authority’s decision in Department of Veteran Affairs, Kansas City VAMC and

   AFGE, 70 F.L.R.A. 465 (2018), and the Authority’s denial of reconsideration in

   Department of Veteran Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A. 960

   (2018), are therefore in violation of 5 U.S.C. § 553.



                                 RELIEF REQUESTED

AFGE respectfully requests that this Court enter an ORDER:

(1) Vacating the Authority’s decision in Department of Veteran Affairs, Kansas City

   VAMC and AFGE, 70 F.L.R.A. 465 (2018), and the Authority’s denial of

   reconsideration in Department of Veteran Affairs, Kansas City VAMC and AFGE, 70

   F.L.R.A. 960 (2018); and

(2) Declaring that the Authority’s decision in Department of Veteran Affairs, Kansas City

   VAMC and AFGE, 70 F.L.R.A. 465 (2018), and the Authority’s denial of

   reconsideration in Department of Veteran Affairs, Kansas City VAMC and AFGE, 70

   F.L.R.A. 960 (2018), are void; and




                                        8
     Case 1:19-cv-00142 Document 1 Filed 01/22/19 Page 9 of 9



(3) Ordering the Authority to grant AFGE’s withdrawal of its petition in Department of

   Veteran Affairs, Kansas City VAMC and AFGE, 70 F.L.R.A. 465 (2018), and the

   Authority’s denial of reconsideration in Department of Veteran Affairs, Kansas City

   VAMC and AFGE, 70 F.L.R.A. 960 (2018); and

(4) Granting such other relief as this Court finds necessary and proper.



                                             Respectfully Submitted,


                                               /s/ Andres M. Grajales
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                                         9
